                             UNITED STATES DISTRICT COURT
                              THE DISTRICT OF NEW MEXICO


     Luis Eduardo PEREZ PARRA, et al.,

          Petitioners,

           v.

     DORA CASTRO, et al.,                              No. 1:24-cv-00912-KG-KRS

          Respondents.




    PETITIONERS’ OPPOSED MOTION FOR A TEMPORARY RESTRAINING ORDER
      ENJOINING PETITIONERS’ TRANSFER FROM THIS JUDICIAL DISTRICT 1

        As of today, the United States government has undertaken five military flights transferring

over 50 individuals in immigration detention inside the mainland United States, to the U.S. Naval

Base at Guantánamo Bay (“Guantánamo”). Petitioners, Luis Eduardo Perez Parra, Leonel Jose

Rivas Gonzalez, and Abrahan Josue Barrios Morales (“Petitioners”), hereby submit this motion

for a temporary restraining order enjoining their transfer to Guantánamo based on the risk that

such a transfer may be imminent. Petitioners, Venezuelan nationals in Immigration and Customs

Enforcement (“ICE”) detention in El Paso, fit precisely the profile of the individuals who have

already been transferred to Guantánamo and have information indicating that they will be likewise

transferred. Petitioners respectfully urge this Court to exercise its equitable authority under the All

Writs Act, 28 U.S.C. § 1651(a) to “issue all writs necessary or appropriate in aid of their respective

jurisdiction,” and immediately issue an order enjoining the transfer of Petitioners to Guantánamo,



1
       Counsel for Respondents has informed Petitioners’ counsel that Respondents oppose this
motion.

                                                  1
so as to maintain the status quo, ensure the government does not attempt to reject this Court’s

continuing jurisdiction, and ensure full counsel access connected to Petitioners’ pending habeas

proceedings before this Court.

       The relief requested is modest. While firmly established law mandates that this Court

should retain jurisdiction over their pending habeas petitions even upon transfer to the U.S.

controlled territory in Guantánamo, it is entirely uncertain that the Trump administration will

adhere to that legal principle and entirely certain that counsel access will be materially and

prejudicially diminished upon transfer to Guantánamo’s offshore detention facilities. Critically,

however, this Court need not actually decide the legal status of immigration detentions in

Guantánamo or prescribe conditions for counsel access there; the mere uncertainty the government

has created surrounding the availability of legal process and counsel access is sufficient to

authorize the modest injunction requested under the prophylactic equitable powers the All Writs

Act confers to this Court to preserve the status quo and protect the integrity of ongoing judicial

proceedings.

I.     BACKGROUND

       A.      President Trump’s Executive Order and Corresponding Transfers of
               Venezuelan Migrants from El Paso to Military Barracks at Guantánamo

       On January 29, 2025, President Donald Trump issued a memorandum directing the

Secretary of Homeland Security and Secretary of Defense “to take all appropriate actions to expand

the Migrant Operations Center at Naval Station Guantanamo [sic] Bay to full capacity to provide

additional detention space for high-priority criminal aliens unlawfully present in the United




                                                2
States.” 2 Recent reports confirm that the U.S. government has diverted hundreds of troops to

Guantánamo to start setting up a tent city for noncitizens, pursuant to President Trump’s orders. 3

       Since February 4, 2025, the U.S. government has transferred over 50 noncitizens to

Guantánamo, without providing any information about their circumstances or the government’s

legal authority for these unprecedented actions. The government has provided virtually no

information about these individuals, including how long they will be held at Guantánamo, under

what authority and conditions, subject to what legal processes, or whether they will have any

means of communicating with their families and attorneys. Indeed, lawyers in the Trump

administration were reportedly still reviewing the legality of sending immigrants to Guantánamo

from immigration detention facilities inside the United States when the first plane departed. 4

       As of the date of this filing, the U.S. government has flown five sets of immigration

detainees to Guantánamo—on February 4, 6, 7, 8, and 9. All of these military planes have departed

from the Fort Bliss Army base near El Paso, Texas. On February 8, a fourth group arrived to

Guantánamo “in what has become an emerging U.S. military air bridge from an immigration site

in El Paso.” 5 Government officials have consistently stated that the administration is prioritizing

for transfers to Guantánamo, Venezuelan men with alleged ties to the Tren de Aragua gang 6—an



2
        The White House, “Expanding Migrant Operations Center at Naval Station Guantanamo
Bay to Full Capacity” (Jan. 29, 2025), https://www.whitehouse.gov/presidential-
actions/2025/01/expanding-migrant-operations-center-at-naval-station-guantanamo-bay-to-full-
capacity/.
3
        Carol Rosenberg & Eric Schmitt, Guantánamo Bay Prepares for President Trump’s
Migrant Surge, N.Y. TIMES (Feb. 3, 2025),
https://www.nytimes.com/2025/02/03/us/politics/guantanamo- trump-migrants.html.
4
        Priscilla Alvarez, et al., Migrant flight lands in Guantanamo Bay as legal questions swirl
around Trump plans, CNN (Feb. 4, 2025),
https://www.cnn.com/2025/02/04/politics/guantanamo-migrant-flight/index.html.
5
        Carol Rosenberg, A Tent City is Rising at Guantanamo Bay, N.Y. TIMES (Feb. 8, 2025),
https://www.nytimes.com/2025/02/08/us/politics/guantanamo-bay-migrants.html.
6
        Id.

                                                 3
incorrect allegation made against two Petitioners over their strenuous objection. See Ex. 3,

Declaration of Leonel Jose Rivas Gonzalez (“Gonzalez Decl.”) at ¶ 4 (“I am not a gang member,

and the only reason they accuse me of being a gang member is because I have tattoos, but the

tattoos are not related to any gang.”). As detailed below, when Petitioners saw the news coverage

of the first of these Guantánamo flights, 7 Petitioners personally recognized several of those

detainees as having been detained at the Otero County Processing Center in Chaparral, New

Mexico—where Petitioners are currently detained. See Ex. 1, Declaration of Abrahan Josue

Barrios Morales (“Morales Decl.”) at ¶ 4; Ex. 2, Declaration of Luis Eduardo Perez Parra (“Parra

Decl.”) at ¶ 4; Ex. 3, Gonzalez Decl. at ¶ 10.

       These transferees are reportedly being detained not in the civilian Migrant Operations

Center at Guantánamo that has historically been used to detain migrants interdicted at high sea.

Instead, they are detained at the same prison designed to house law-of-war detainees apprehended

in post 9/11 operations, raising significant and concerning questions about the government’s plans

for these and other migrants it intends to detain at Guantánamo as well as the legal status the

administration will seek to confer upon them. 8 The administration has announced that it is planning

to send tens of thousands of additional immigration detainees to Guantánamo in the near future.

In fact, the government is reportedly moving rapidly to arrange for daily flights transferring

immigration detainees to Guantánamo. 9



7
        See, e.g., @CBP, X (Feb. 4, 2025, 5:35 PM),
https://x.com/CBP/status/1886936769242845237.
8
        Hamed Aleaziz, et al., U.S. Is Holding Migrants in Cells That Once Held Al Qaeda
Suspects, N.Y. TIMES (Feb. 5, 2025), https://www.nytimes.com/2025/02/05/us/politics/migrants-
trump-guantanamo-prison.html.
9
        Camilo Montoya-Galvez & Eleanor Watson, Trump Officials Eye Daily Migrant
Detainee Flights to Guantanamo Bay, CBS NEWS (Feb. 6, 2025),
https://www.cbsnews.com/news/trump-officials-eye-daily-migrant-detainee-flights-to-
guantanamo-bay/.

                                                 4
        Following a meet and confer on this motion, counsel for the government stated that the

none of Petitioners “are being moved to Guantanamo.” While speaking narrowly in the present

tense, the government provides no assurance they would not be moved in the near future. And

notably, the government opposes the modest relief requested by this motion. Clearly, the relief

requested would do no harm to the government if there is no planned transfer while it would protect

the interests of Petitioners and this Court.

        B.      The Legal Uncertainties Surrounding Current and Future Detentions at
                Guantánamo.

        U.S. detention practices in Guantánamo have consistently violated basic human rights and

domestic constitutional norms. From the detention of thousands of Haitian refugees fleeing

persecution in 1991, to the detention of Muslim men and boys apprehended in the “Global War on

Terror,” Guantánamo has been a site of lawlessness and torture, which surfaces troubling questions

about why this administration seeks to use this notorious and remote offshore detention facility to

house thousands of immigrants who are in removal proceedings or in detention pending removal.

In the years following the September 11 attacks, Guantánamo predominantly functioned as a

central hub for a U.S. policy contemplating the indefinite, secret detention of suspected terrorists. 10

The executive branch’s goal was to create a “legal black hole,” or “the legal equivalent of outer

space”—explicitly outside the jurisdiction of U.S. courts. 11 Accordingly, the George W. Bush




10
        JOSEPH MARGULIES, GUANTÁNAMO AND THE ABUSE OF PRESIDENTIAL POWER (2007).
11
        Michael Isikoff, The Gitmo Fallout, NEWSWEEK (July 16, 2006, 8:00 PM),
https://www.newsweek.com/; see also Memorandum for William J. Haynes, II, General Counsel,
Department of Defense, from Patrick F. Philbin & John C. Yoo, Deputy Assistant Attorneys
General, Office of Legal Counsel (Dec. 28, 2001), reprinted in THE TORTURE PAPERS: THE ROAD
TO ABU GHRAIB, 29—37 (Karen J. Greenberg & Joshua L. Dratel, eds. 2005) (stating
government’s belief that a federal district court cannot properly exercise habeas corpus
jurisdiction over detainees on Guantánamo because the U.S. does not have sovereignty over the
island under its lease with Cuba).

                                                   5
administration undertook to detain individuals incommunicado—including without any counsel

access—and subject them to abusive treatment and conditions amounting to torture. 12

       As one human rights expert observed, “Trump is only the most recent president to seek to

use Guantánamo as a legal black hole to try to get away with impermissible treatment.” 13 Indeed,

this administration’s fidelity to law has been under serious question as courts have enjoined

numerous of its recently issued executive orders as ultra vires and unlawful. 14 Thus, in taking the

extraordinary and unnecessary effort to transfer immigration detainees to Guantánamo, the

administration is quite likely using this notorious prison—and its reputation for lawlessness and

maltreatment—for its in terrorem effect on current and future immigrants.

       The Constitution, along with federal and international law, have since developed to prohibit

the government from using Guantánamo as a legal black hole. 15 In addition, the current law in this

Circuit ensures that transfers of petitioners with pending habeas petitions of the kind these



12
        The Center for Constitutional Rights, Report on Torture and Cruel, Inhuman, and
Degrading Treatment of Prisoners at Guantanamo Bay, Cuba (July 2006),
https://ccrjustice.org/files/Report_ReportOnTorture.pdf; Jane Mayer, The Experiment, New
Yorker, July 11, 2005, at 63; Neil A. Lewis, Red Cross Finds Detainee Abuse in Guantánamo,
N.Y. TIMES (Nov. 30, 2004), at A1.
13
        Silvia Foster Frau, Why lawyers worry migrants sent to Gitmo are entering a ‘legal black
hole’, WASH. POST (Feb. 8, 2025),
https://www.washingtonpost.com/immigration/2025/02/08/guantanamo-migrants-trump-
deportations-noem/.
14
        See, e.g., State v. Trump, No. C25-0127-JCC, 2025 WL 415165 (W.D. Wash. Feb. 6,
2025) (enjoining enforcement of President Trump’s Executive Order providing that birthright
citizenship did not extend to children of undocumented immigrants); Doe v. McHenry, C25-
0286-RCL, 2025 WL 388218 (D.D.C. Feb. 4, 2025) (enjoining enforcement of President
Trump’s Executive Order to move incarcerated transgender women into men’s facilities and stop
gender transition medical treatments).
15
        See Rasul v. Bush, 542 U.S. 466 (2004) (recognizing that the habeas statute applies to
executive detentions in Guantánamo); Boumediene v. Bush, 553 U.S. 723, 771, 779 (2008)
(recognizing that constitutional rights extend to detainees held at Guantánamo and ensuring
“meaningful” judicial review of habeas petitions); see also Odah v United States, 346 F. Supp.
2d 1 (D.D.C. 2004) (ensuring that Guantánamo detainees retained full access to counsel and that
attorney-client privilege could not be abrogated by government’s proposed security measures).

                                                 6
Petitioners have, cannot defeat the original court’s jurisdiction over those petitions. 16 But given

Guantánamo’s shameful history as a prison-outside-the-law, and the aggressive pace of

unprecedented transfers of immigration detainees to Guantánamo in recent days, undersigned

counsel are gravely concerned that if Petitioners are transferred to Guantánamo, their substantive

and procedural rights will not be fully respected by this administration.17

       Thus, concerns remain that the agencies responsible for implementing the January 29, 2025

Guantánamo Executive Order: (1) will not faithfully comply with legal requirements governing

the detention of Petitioners there or accept this Court’s continuing jurisdiction, (2) will not grant

full access to counsel to meet with Petitioners, and certainly not on terms currently available to

Petitioners’ immigration counsel in New Mexico, nor allow Petitioners to communicate with loved

ones; and (3) will subject Petitioners to prolonged or indefinite detention at Guantánamo and will

not make adequate provisions to ensure the safety and health of Petitioners there. Public reporting




16
        Pinson v. Berkebile, 604 F. App’x 649, 652–53 (10th Cir. 2015) (holding that a prisoner’s
transfer from one federal facility to another during the pendency of a habeas corpus proceeding
does not defeat the original district court’s jurisdiction); see also In re Hall, 988 F.3d 376, 378
(7th Cir. 2021) (same).
17
        President Trump’s prior statements seeking to underscore unlawful features of
Guantánamo heighten these concerns. In 2016, President Trump claimed during his candidacy
that he would keep Guantánamo open and “load it up with some bad dudes.” See David Welna,
Trump Has Vowed To Fill Guantanamo With ‘Some Bad Dudes’ — But Who?, NPR (Nov. 14,
2016), https://www.npr.org/sections/parallels/2016/11/14/502007304/trump-has-vowed-to-fill-
guantanamo-with-some-bad-dudes-but-who. He advocated that American citizens be tried by
Guantánamo military commissions in direct contravention of federal law. Patricia Mazzei,
Trump: Americans could be tried in Guantánamo, MIAMI HERALD (Aug. 11, 2016),
http://www.miamiherald.com/news/politics-government/election/donald-
trump/article95144337.html. Shortly before his first inauguration, President Trump expanded on
his position regarding the prison, declaring in response to the Obama administration’s transfer of
detainees cleared for release that “[t]here should be no further releases from Gitmo.” See
@realDonaldTrump, X (Jan. 3, 2017, 10:20 PM),
https://x.com/realdonaldtrump/status/816333480409833472.

                                                 7
suggests the administration’s lawyers themselves have not fully considered these critical

questions. 18

        As described below, uncertainty about these questions alone is enough of a basis to grant

the modest relief requested to maintain the status quo and aid in preserving this Court’s jurisdiction

to resolve the habeas petitions pending before it.

        C.      The Serious, Comparative Limitations on Counsel Access in Guantánamo

        Counsel’s current access to Petitioners is robust and quick. Counsel is currently able to

easily arrange private client meetings by video, phone, or in-person. Counsel has typically been

able to schedule these meetings with less than 24-hours’ notice by emailing guards at the facility

who are in charge of ensuring legal access. Indeed, Counsel has met with at least one of the

Petitioners virtually or in-person several times over the past few days.

        In obvious contrast, counsel access has enormous practical limitations in Guantánamo.

Undersigned counsel, the Center for Constitutional Rights, filed the first habeas petitions

challenging the Bush administration’s military detentions in 2002, and has represented dozens of

Guantánamo detainees in the twenty years since its victory in the Supreme Court case, Rasul v.

Bush, 542 U.S. 466 (2004), and its lawyers have collectively made hundreds of visits to the Base.

Counsel is thus well positioned to state the obvious, which is that counsel access to clients detained

in Guantánamo is limited by legal and practical considerations that would implicate the continued

representation of Petitioners. Indeed, that is likely the very outcome the administration is seeking

by moving immigration detainees to a remote island prison a thousand miles away from their

attorneys.



18
        Priscilla Alvarez, et al., Migrant flight lands in Guantanamo Bay as legal questions swirl
around Trump plans, CNN (Feb. 4, 2025),
https://www.cnn.com/2025/02/04/politics/guantanamo-migrant-flight/index.html.

                                                  8
       While the courts have authorized basic access to visit military detainees at Guantánamo,

those military counsel nevertheless face serious legal and practical obstacles in accessing and

communicating with clients. For example, the government has required counsel to undertake a

lengthy security clearance process in order to communicate with detainees and to enter the

Guantánamo theater. Such a requirement is driven by the presumptively classified nature of

communications from military detainees and thus would be wholly inappropriate here. Still, it is

unclear whether the administration would nevertheless insist on such procedures for a period of

time—and until the courts deem them invalid. In addition, there are no commercial flights to

Guantánamo, so visits to clients can happen only via military charters flying exclusively on a

weekly basis from D.C. and only with the advanced planning and permission from the Defense

Department. And, travel to Guantánamo and back each takes at least a full day.

       Moreover, client calls and communications are severely limited and restricted. For

example, counsel from the Center for Constitutional Rights can represent that telephone access at

Guantánamo detention facilities (including the one in which current immigration detainees are

being held) is so limited that they must be reserved 15 days in advance. The very remoteness of

this island prison will put counsel visits in the foreseeable future in obvious jeopardy. It is also

reasonable to assume, based on public reporting and the absence of any assurance otherwise from

the administration, that the administration has not made arrangements for fluid and regular counsel

access to clients via telephone, tablet, or videoconferencing, which would only be further

compromised by the planned detention of thousands of persons. Transfers to Guantánamo,

therefore, will surely limit and deteriorate the access to counsel Petitioners currently enjoy, and

which is necessary for counsel’s ethical representation of Petitioners’ interests.




                                                  9
       D.      Petitioners’ Pending Legal Proceedings Before This Court

       Petitioners filed their Petition for Writ of Habeas Corpus on September 13, 2024. See ECF

No. 1. Petitioners challenge the legality of their continued detention by ICE as violative of the

Immigration and Nationality Act and the Due Process Clause of the Fifth Amendment of the U.S.

Constitution. See id. Petitioners subsequently filed a Motion for an Order to Show Cause on

October 1, 2024. See ECF No. 10. The Court issued an Order to Show Cause on November 26,

2024, see ECF No. 29, the parties briefed their positions, and the Court heard argument on January

15, 2025. ECF No. 40. The Court has set a deadline of February 24, 2025, for the parties to submit

additional briefing and status updates to the Court, and the Court has scheduled a status conference

for March 3, 2025. ECF No. 41.

       E.      The Substantial Risk that Petitioners Will Be Transferred to Guantánamo

       Petitioners have good reason to fear transfer to Guantánamo. As detailed in the attached

declarations, some Petitioners have reason to believe they are on a list of Venezuelans slated for

transfer, see Ex.1, Morales Decl. ¶ 5; other Petitioners were grouped with other Venezuelans to

provide personal information to ICE officials in an unusual manner that reasonably suggests an

imminent transfer, see Ex. 4, Declaration of Diana Nevarez Ramirez (“Nevarez Decl.”) at ¶ 4; Ex.

3, Gonzalez Decl. at ¶ 11; Ex. 2, Perez Parra Decl. at ¶ 7; others report that ICE has specifically

informed Venezuelan detainees that they would be sent to Guantánamo, see Ex. 2, Perez Parra

Decl. at ¶ 6; and Petitioners have recognized some of the individuals who were already transferred

to Guantánamo as individuals who had earlier been in detention with them in Otero. See Ex. 1,

Morales Decl. at ¶ 4; Ex. 2, Perez Parra Decl. at ¶¶ 4-7; Ex. 3, Gonzalez Decl. at ¶ 10.

       Petitioners are well aware that their identity and characteristics puts them at particularly

heightened risk of imminent transfer to Guantánamo. Petitioners are Venezuelan men, two of



                                                10
whom are alleged by the U.S. government to be members of the Tren de Aragua gang (which, as

earlier briefed, Petitioners vehemently deny), detained by ICE proximate to the Fort Bliss military

base from which Guantánamo flights are departing (in what the nation’s leading Guantánamo

reporter calls “an emerging U.S. military air bridge from an immigration site in El Paso” 19).

Petitioners understand from the events of the past week and statements made by senior government

officials that ICE is highly motivated to undertake additional Guantánamo transfers at a rapid pace.

       Petitioners acutely fear for their own safety and wellbeing, given this risk of imminent

transfer. See Ex. 3, Gonzalez Decl. at ¶¶ 4-7 (detailing fear and trauma about detention and

prospect of transfer to Guantánamo, including instances of self-harm requiring medical and mental

health attention); Ex. 2, Perez Parra Decl. at ¶¶ 4-5 (detailing observations leading to fear of

imminent transfer); Nevarez Decl. ¶ 4.

       Further, ICE has been evasive, obstructionist, and nonresponsive to Petitioners’ counsel

regarding Petitioners and other individuals detained in the El Paso area at risk of imminent transfer

to Guantánamo. See Ex. 5, Declaration of Jorge Dominguez (“Dominguez Decl.”) at ¶¶ 4-5. On

February 7, 2025, counsel for Petitioners contacted ICE by email requesting assurance that

Petitioners will not be transferred to Guantánamo. See Ex. 6, Declaration of Zoe Bowman at ¶ 7.

ICE has not responded. Id. In addition, counsel for Petitioners attempted to learn whether a

different client was being transferred to Guantánamo, and ICE appeared to cancel the transfer of

that client to Guantánamo after counsel called ICE to inquire about the transfer. Id. at ¶ 4. Other

attorneys have also attempted to reach Venezuelans in ICE custody they believe were transferred

to Guantánamo. ICE did not admit to them being in Guantánamo, and instead gave conflicting

answers about their locations, and did not allow the attorneys to speak with them. Anwen Hughs,



19
       See supra note 5.

                                                 11
the Director of Legal Strategy for Refugee Programs at Human Rights First, learned from an ICE

supervisor that seven detained Venezuelan men had been transferred to Miami even though six of

the men are still listed in the ICE detainee locator as being held at the El Paso Service Processing

Center and the seventh man is still listed as being in ICE custody with no location. See Ex. 7,

Declaration of Anwen Hughs at ¶¶ 2, 9-10. These are some of the same detained Venezuelan men

Mr. Dominguez tried to visit at the El Paso Service Processing Center and was informed by ICE

that they simply were not available for a visit. See Ex. 5, Dominguez Decl. at ¶ 4.

       For these reasons, Petitioners’ counsel is alarmed at the prospect that Petitioners may be

imminently transferred to Guantánamo with no notice to Petitioners’ counsel and no opportunity

to challenge the transfer.

II.    ARGUMENT

       There is a well-substantiated risk that Petitioners will be transferred to detention facilities

at Guantánamo. Any such transfer would demonstrably compromise Petitioners’ access to counsel

and may, depending upon the government’s as-yet-unstated legal position, implicate this Court’s

jurisdiction. At best, the government is, intentionally or not, erecting unnecessary barriers to

counsel access and the adjudication of pending habeas petitions; at worst, it is attempting to

transfer individuals to this notorious offshore prison in order to cut off legal process altogether. In

our system of separation of powers, the executive branch cannot “switch the Constitution on and

off at will,” see Boumediene v. Bush, 553 U.S. 723, 765 (2008); the executive must adhere to an

orderly legal process as directed by this Court. Accordingly, this Court should guard against any

attempt to move Petitioners out of this judicial district and thereby create delay or uncertainty

about this Court’s ability to meaningfully and timely adjudicate their pending habeas petitions or

otherwise diminish Petitioners’ access to counsel.



                                                  12
       The Court has ample power conferred to it by the All Writs Act, as well as under the court’s

inherent equitable power, to issue a modest injunction preventing any transfer of Petitioners to

ensure that their pending legal claims are fully adjudicated before this Court. In issuing the

injunction, the Court need not evaluate questions regarding the legality of immigration detention

in Guantánamo or the likelihood of success of Petitioner’s substantive claims for relief in habeas.

Instead, the Court can issue such a modest injunction to avoid any uncertainty that might arise in

case of a transfer and to ensure the integrity and availability of ongoing judicial proceedings,

without reviewing the government’s claimed authority to transfer or the merits of Petitioners’

underlying habeas claims. And, by simply preserving the status quo, such an order will impose no

burden on the government.

       A.      Under the All Writs Act and this Court’s Inherent Authority, this Court
               Retains Broad Power to Prevent Transfers that Implicate the Integrity of
               Court Proceedings.

       The All Writs Act (“AWA”) provides federal courts with a powerful tool to preserve the

integrity of their jurisdiction to adjudicate claims before them. See 28 U.S.C. § 1651(a)

(authorizing federal courts to “issue all writs necessary or appropriate in aid of their respective

jurisdictions and agreeable to the usages and principles of law”); TBG v. Bendis, 36 F.3d 916, 925

(10th Cir. 1994). The Act encompasses a federal court’s power to “maintain the status quo by

injunction pending review of an agency’s action through the prescribed statutory channels,” F.T.C.

v. Dean Foods Co., 384 U.S. 597, 604 (1966), and courts have found that the Act should be broadly

construed to “achieve all rational ends of law,” California v. M&P Investments, 46 F. App’x 876,

878 (9th Cir. 2002) (quoting Adams v. United States, 317 U.S. 269, 273 (1942)). 20




20
        Although the AWA does not appear in many Tenth Circuit cases, its principles are well
established by the U.S. Supreme Court, see, e.g., United States v. N.Y. Tel. Co., 434 U.S. 159

                                                13
       Whereas a traditional preliminary injunction requires a party to state a claim, an injunction

based on the AWA requires only that a party identify a threat to the integrity of an ongoing or

prospective proceeding, or of a past order or judgment. Klay, 376 F.3d at 1097 (a court may enjoin

almost any conduct “which, left unchecked, would have . . . the practical effect of diminishing the

court’s power to bring the litigation to a natural conclusion”). Thus, to issue an injunction pursuant

to the AWA, this Court need not find that there is a likelihood of success on the merits of the

underlying claims. See Wagner v. Taylor, 836 F.2d 566, 571–72 (D.C. Cir. 1987) (showing of

irreparable injury suffices); Arctic Zero, Inc. v. Aspen Hills, Inc., No. 17-CV-00459-AJB-JMA,

2018 WL 2018115, at *5 (S.D. Cal. May 1, 2018) (distinguishing AWA injunction from traditional

preliminary injunction). Rather, it is sufficient for the Court to find that a party has identified a

threat to the integrity of or “natural conclusion” of an ongoing proceeding such as the instant

habeas action.

       Courts have explicitly relied upon the AWA to enjoin proceedings commenced after the

court’s assertion of jurisdiction in order to prevent even a risk that a respondent’s actions will

diminish the court’s capacity to adjudicate claims before it. See Kurnaz v. Bush, No. 04-cv-1135,

2005 WL 839542, *1–2 (D.D.C. Apr. 12, 2005) (enjoining Defense Department from transferring

Guantánamo detainee with pending habeas petition, absent notice, outside the jurisdiction of the

court); Michael v. INS, 48 F.3d 657, 664 (2d Cir. 1995) (using the AWA to stay an order of

deportation “in order to safeguard the court’s appellate jurisdiction” and preserve its ability to hear

subsequent appeals by the petitioner). At a minimum, the AWA authorizes the Court to ensure that

the to-be-transferred detainees are not put in a worse legal position by virtue of their transfer. See




(1977), and in sister circuits, see, e.g., Klay v. United Healthgroup, Inc., 376 F.3d 1092 (11th
Cir. 2004).

                                                  14
Al Otro Lado v. McAleenan, 423 F. Supp. 3d 848, 874–78 (S.D. Cal. 2019) (enjoining application

of Trump administration “transit ban” which would categorically bar consideration of class

members’ asylum claims who would only be subject to that categorical ban because of the alleged

unlawful delays created by the government and subject to adjudication before the court); N.Y. Tel.

Co., 434 U.S. at 173 (holding that AWA allows a federal court to “avail itself of all auxiliary writs

as aids in the performance of its duties, when the use of such historic aids is calculated in its sound

judgment to achieve the ends of justice entrusted to it”).

       Courts also retain their inherent equitable authority to enjoin transfers pending a habeas

petition, and courts regularly exercise that authority. See, e.g., Order, Westley v. Harper, No. 2:25-

cv-00229 (E.D. La. Feb. 2, 2025), ECF No. 7; Santos Garcia v. Wolf, No. 1:20-cv-821

(LMB/JFA), 2020 WL 4668189 (E.D. Va. Aug. 11, 2020); Order, Campbell v. U.S. Immigr. &

Customs Enf’t, No. 1:20-cv-22999-MGC (S.D. Fl. July 26, 2020), ECF No. 13; Order, Sillah v.

Barr, No. 19-cv-1747 (S.D.N.Y. Feb. 25, 2019), ECF No. 3; see also Zepeda Rivas v. Davis, 504

F. Supp. 3d 1060, 1077 (N.D. Cal. 2020); Dorce v. Wolf, No. 20-CV-11306, 2020 WL 7264869

(D. Mass. Dec. 10, 2020). See also 28 U.S.C. § 2243 (habeas courts authorized to order relief “as

law and justice require”).

       Thus, under the AWA and the court’s inherent power, this Court has authority to issue a

modest injunction preventing Petitioners’ transfer to Guantánamo, thereby protecting the

integrity of this Court’s jurisdiction, Petitioners’ corresponding need to access counsel, and this

Court’s ability to fully adjudicate Petitioners’ pending habeas proceedings.

       B.      This Court Should Exercise Its Equitable Power Under the AWA to Enjoin
               the Transfer of Petitioners to Guantánamo

       Petitioners have shown a risk that Petitioners will be transferred outside this judicial district

and to Guantánamo’s offshore detention facilities and that, therefore, such a transfer implicates the


                                                  15
integrity of this Court’s jurisdiction over pending habeas petitions as well as Petitioners’ access to

counsel necessary to adjudicate their petitions. First, there is a substantial risk that Petitioners will

be transferred to Guantánamo. As of the date of this filing, reportedly four flights of immigration

detainees have landed in Guantánamo, and the U.S. government is moving rapidly to arrange daily

flights and effectuate its plan of sending thousands of additional immigration detainees to

Guantánamo. Petitioners fit the profile of those the administration has prioritized for detention in

Guantánamo, i.e. Venezuelan men detained in the El Paso area with (false) charges of connections

with the Tren de Aragua gang. See supra Section I.A. Petitioners and their counsel have observed

unusual ICE practices suggesting the possibility of an imminent transfer, and have heard of direct

threats of imminent transfers. See supra Section I.E.

        Second, the legal uncertainties surrounding these transfers threaten to disrupt or diminish

the Court’s capacity to exercise jurisdiction over pending habeas petitions. It is unclear why the

Trump administration would seek to disrupt the domestic detention processes every prior

administration has followed, to race to build and populate a vast detention operation for immigrants

in Guantánamo. Guantánamo’s historical functioning as an island prison beyond the operation of

law, and the administration’s failure to address obvious questions about the legal status of

detentions in Guantánamo, raises plausible concerns that the administration will use this offshore

prison to claim, unlawfully, that immigrants detained there have no rights or diminished rights.

The Court doesn’t have to decide that question and indeed, the best way to avoid that question is

to enjoin transfer and maintain the status quo.

        Finally and most obviously, is the risk to Petitioners’ current full access to counsel which,

based on public reporting and in the absence of any assurances from the administration, is bound

to deteriorate. Current obstacles already facing Guantánamo military counsel include: a lengthy



                                                   16
security clearance process; the lack of commercial flights to Guantánamo and the difficulty of

arranging travel via military charters (which operate weekly and require two full days of travel);

and the severe limitations on client calls and telephone facilities, which generally must be reserved

15 days in advance. Although certain limitations may not apply with equal force to these proposed

immigration detainees, counsel access will certainly be diminished given the inherent difficulty of

communicating with clients on a remote island prison.

                                             CONCLUSION

       Based on the foregoing, Petitioners respectfully urge this Court to exercise its authority

under the All Writs Act, 28 U.S.C. § 1651(a), and immediately issue an order enjoining the transfer

of Petitioners to the U.S. Naval Base at Guantánamo Bay. If argument would be helpful to the

Court, Petitioners respectfully request that the Court set this Motion for argument via

videoconferencing today or at the earliest possible date.


Dated: February 9    , 2025                                   Respectfully submitted,

                                                              /s/ Jessica Myers Vosburgh,

                                                              Jessica Myers Vosburgh*
                                                              Center for Constitutional Rights
                                                              P.O. Box 486
                                                              Birmingham, AL 35201
                                                              (212) 614-6492
                                                              jvosburgh@ccrjustice.org

                                                              Baher Azmy**
                                                              Samah Sisay*
                                                              Ayla Kadah**
                                                              Center for Constitutional Rights
                                                              666 Broadway, 7th Floor
                                                              New York, NY 10012
                                                              (212) 614-6436
                                                              bazmy@ccrjustice.org
                                                              ssisay@ccrjustice.org
                                                              akadah@ccrjustice.org


                                                 17
     Rebecca Sheff
     Max Brooks
     ACLU of New Mexico
     P.O. Box 566
     Albuquerque, NM 87103
     (781) 718-0990
     rsheff@aclu-nm.org
     mbrooks@aclu-nm.org

     Zoe Bowman
     Las Americas Immigrant Adv.
     Center
     1500 Yandell Dr.
     El Paso, TX 79902
     (915) 433-9702
     zoebowman@las-americas.org

     *Appearing pro hac vice
     ** Pro hac vice forthcoming

     COUNSEL FOR PETITIONERS




18
                                CERTIFICATE OF SERVICE
       I hereby certify that, this 9th day of February, 2025, I filed a copy of the foregoing Motion

for a Temporary Restraining Order electronically through the CM/ECF system, which gave service

to all counsel of record.

                                                             s/ Rebecca Sheff
                                                             Rebecca Sheff




                                                19
